       Case 2:23-cv-02000-WSS           Document 2       Filed 11/20/23     Page 1 of 31




                      IN THE UNITED STATES DISTRICT COURT
                   FOR THE WESTERN DISTRICT OF PENNSYLVANIA


 JACKI EASLICK, LLC, and
 JE CORPORATE LLC,

                               Plaintiffs,                             Civil Action No. 2:23-cv-2000

 v.
                                                                   FILED UNDER SEAL
 CJ EMERALD, ABEL TANG, ACCENCYC US,
 ATRISS, AUTROW, BESTOYARD, BOKWIN,
 BONNIE CHILD, CBTONE, COCO'S HOUSE,
 COLORED FLAG, DSVENROLY DIRECT,
 ENTERTAINMENT FIRST, FACING THE OCEAN,
 FEPERIG, FITNICE OFFICIAL, FULL OF
 STARS.MIN, GARDEISH, GUTAPO, HEMPHILL
 HEN, HERLLOY, HOME DEPUTY, IDUSHOME,
 JAGOGH YSON, JINGWEI-US, JONERCEY, JRUIA,
 KARIN YANG, KEYBOO INC, LASENERSM,
 LIMICOUNTS, LIPU HOOKER, LITEVISO,
 LMPOSING, LUKINM, M.METEORITE,
 MAYBELLER, MUYUSH, MYFOLRENA
 OFFICIAL, MZEKGXM, NEZA-US, NISHUNA,
 PATRICK YAO, PBFZ, PENGWH SHOP, QIKITA,
 ROBITENO, SHANNON WENHA, SI PEIHONG,
 SINUOXIANG, SOMIROW, SURMOUNTY,
 THINKCREATORS, THOMAS ZACK YANG,
 TRACY ZHONG, TRAVELNA, UFURMATE US,
 UME SPORTS, VITONG, WAITKEY DIRECT,
 WEKIWGOT-US, YANHUSLSNE, ZARA LEI,
 ZEDODIER, ZGCZZ, ZHANGHETING, and ZHONG
 ROY,
                               Defendants.



               COMPLAINT FOR DAMAGES AND INJUNCTIVE RELIEF


       Plaintiffs hereby sue Defendants, the Individuals, Partnerships, and Unincorporated

Associations identified in the Caption, which are set forth in Schedule “A” hereto (collectively

“Defendants”). All Defendants are knowingly and intentionally promoting, advertising,
       Case 2:23-cv-02000-WSS             Document 2        Filed 11/20/23    Page 2 of 31




distributing, offering for sale, and selling patent infringing versions of Plaintiffs’ patented TOTE

HANGER® brand handbag hanger hook which infringe U.S. Patent No. D695,526 (“Plaintiffs’

Patent”), using at least one of the Amazon.com, eBay.com, Joybuy, Temu, Wish.com,

Walmart.com, and Aliexpress.com online marketplaces (“Internet Marketplaces”) operating

under the seller identities as set forth on Schedule “A” hereto (the “Seller IDs”)(“Infringing

Products’). In support of its claims, Plaintiffs allege as follows:

                                         INTRODUCTION

       1. Before starting her own companies, Jacklyn Easlick was the Product Development

Director for Vera Bradley and ran that company’s office and design studio. After a medical

emergency that landed her in the ICU, she left Vera Bradley in 2010. Jobless, she began Jacki

Easlick, LLC to design and create her own products. From her experience and travels, she

realized that consumers needed a way to hang and organize their handbags, so she designed and

invented the TOTE HANGER® brand handbag hanger hook. Jacki Easlick is the sole inventor

and developer of the patented TOTE HANGER® brand handbag hanger hook. Plaintiff Jacki

Easlick, LLC (“JEL”) is the 100% owner of the Plaintiff JE Corporate LLC (“JEC”) which owns

all the intellectual property, including the trademarks and US Design Patent No.D695,526 S

(“Plaintiffs’ Patent”), the subject of which is the TOTE HANGER® brand handbag hanger hook.

       2. Plaintiffs have created and innovated all of their own products, packaging, and

advertising. This is a costly effort involving graphic design, industrial design, and tooling. It

takes time to create, design, test, redesign, and retest prototypes. Products are introduced to

retailers via tradeshows across the world. This introduction process costs a lot of money but it is

a chance to show customers the quality and use of the product. Today, Plaintiffs’ JACKI

EASLICK® brand encompasses many high quality, affordable luxury products, including, but

                                                 -2-
       Case 2:23-cv-02000-WSS             Document 2        Filed 11/20/23       Page 3 of 31




not limited to women’s clothing, shoes, handbags, jewelry, and other accessories, such as the

TOTE HANGER® brand handbag hanger hook (“Plaintiffs’ Product”)

        3. Genuine goods comprising Plaintiffs’ Product as claimed in Plaintiffs’ Patent are

widely legitimately advertised and promoted by Plaintiffs, their authorized distributors, and

unrelated third parties via the Internet. Over the past several years, visibility on the Internet,

particularly via Internet search engines such as Google, Yahoo!, and Bing is increasing important

to Plaintiffs’ overall marketing.

        4. Plaintiffs’ patented TOTE HANGER® is an innovative solution for hanging handbags

on a standard closet rod. Screen shots of the Plaintiffs’ Amazon Store and Websites showing

Plaintiffs’ Product are shown in Complaint Exhibit 2

        5. Defendants’ sale, distribution, and advertising of the Infringing Products are highly

likely to cause consumers to believe that Defendants are offering genuine versions of Plaintiffs’

Product when in fact they are not. To illustrate, below are several examples which vividly show

that the Infringing Products themselves and the manner in which they are marketed is designed

to confuse and mislead consumers into believing that they are purchasing Plaintiffs’ Product or

that the Infringing Products are otherwise approved by or sourced from Plaintiffs:




                                                 -3-
Case 2:23-cv-02000-WSS     Document 2   Filed 11/20/23   Page 4 of 31




         Plaintiffs’ Product            Listing of Defendant CJ Emerald
                                           Showing Infringing Design




         Plaintiffs’ Product            Listing of Defendant Patrick Yao
                                           Showing Infringing Design




         Plaintiffs’ Product             Listing of Defendant NEZA-US
                                           Showing Infringing Design




                                -4-
       Case 2:23-cv-02000-WSS           Document 2        Filed 11/20/23      Page 5 of 31




     Additional photograph comparisons of Plaintiffs’ Product and the Infringing Products

appear in Exhibit 1 attached to the Complaint.

       6. As poorly manufactured products, there is a risk of injury and disappointment from the

confused customers.

       7. The Infringing Products threaten to destroy the reputation of high quality that

Plaintiffs’ Product has earned.

       8. Plaintiffs developed and sell their TOTE HANGER® brand handbag hanger hook

under the registered TOTE HANGER® trademark (“Plaintiffs’ Mark”). No. 4408783 for “metal

hooks” in class 6. A copy of the trademark registration certificate is attached to the Complaint as

Exhibit 3A. Plaintiffs also own US Design Patent D 695,526 S, the subject of which is the

ornamental design of Plaintiffs’ Product. (“Plaintiffs’ Patent” or “Plaintiffs’ Design Patent”)

(Figures of the Plaintiffs’ Patent are shown below).




                                                -5-
       Case 2:23-cv-02000-WSS            Document 2       Filed 11/20/23      Page 6 of 31




       A copy of the Plaintiffs’ Design Patent is attached to the Complaint as Exhibit 3B.

       9. On information and belief, Defendants’ sale of Infringing Products gives rise to a

plausible expectation that discovery will reveal that Defendants’ actions all arise from the same

transaction, occurrence, or series of transactions. Specifically, on information and belief,

Defendants are actively participating in a conspiracy to distribute and sell Infringing Products.

For example, Defendants, on information and belief, are working together to manufacture,

arrange the manufacture of and/or sell and otherwise distribute the Infringing Products.

Moreover, the Infringing Products share similar characteristics including, for example, colors,

size, and design.

       10. This is an action for federal patent infringement

       JURISDICTION AND VENUE

       11. This Court has subject matter jurisdiction over this action pursuant to 35 U.S.C. §

271 and The All Writs Act, 28 U.S.C. § 1651(a).

       12. This Court may exercise personal jurisdiction over a non-resident of the State in

which the Court sits to the extent authorized by the state's laws. Fed. R. Civ. P. 4(e).

Pennsylvania authorizes personal jurisdiction over the Defendant pursuant to 42 Pa. Cons. Stat. §

                                                -6-
       Case 2:23-cv-02000-WSS            Document 2        Filed 11/20/23      Page 7 of 31




5322 (a) which provides in pertinent part: “A tribunal of this Commonwealth may exercise

personal jurisdiction over a person ... as to a cause of action or other matter arising from such

person: (1) Transacting any business in this Commonwealth. Without excluding other acts

which may constitute transacting business for the purpose of this paragraph: (ii) The doing of a

single act in this Commonwealth for the purpose of thereby realizing pecuniary benefit ... (3)

Causing harm or tortious injury by an act or omission in this Commonwealth. (4) Causing harm

or tortious injury by an act or omission outside this Commonwealth ... (10) Committing any

violation within the jurisdiction of the Commonwealth of any statute, home rule charter, local

ordinance or resolution, or rule or regulation promulgated thereunder by any government unit or

of any order of court or other government unit.” In the alternative, Federal Rule of Civil

Procedure 4(k) confers personal jurisdiction over the Defendant because, upon information and

belief, Defendants regularly conduct, transact and/or solicit business in Pennsylvania and in this

judicial district, and/or derive substantial revenue from their business transactions in

Pennsylvania and in this judicial district and/or otherwise avail themselves of the privileges and

protections of the laws of the Commonwealth of Pennsylvania such that this Court's assertion of

jurisdiction over Defendants does not offend traditional notions of fair play and due process,

and/or Defendants’ illegal infringing actions caused injury to Plaintiff in Pennsylvania and in this

judicial district such that Defendants should reasonably expect such actions to have

consequences in Pennsylvania and in this judicial district, for example:

               a. Upon information and belief, Defendants were and/or are systematically

       directing and/or targeting their business activities at consumers in the United States,

       including Pennsylvania, through on-line platforms with Merchant Storefronts (as defined

       infra), via at least one of Amazon.com, eBay.com, Joybuy, Temu, Wish.com,


                                                -7-
Case 2:23-cv-02000-WSS           Document 2       Filed 11/20/23      Page 8 of 31




Walmart.com, and Aliexpress.com, under the Seller IDs, as well as any and all as yet

undiscovered accounts with Merchant Storefronts held by or associated with Defendants,

their respective officers, employees, agents, servants and all persons in active concert or

participation with any of them (“User Accounts”), through which consumers in the

United States, including Pennsylvania, can view the one or more of Defendants’

Merchant Storefronts that each Defendant operates, uses to communicate with

Defendants regarding their listings for Infringing Products and to place orders for, receive

invoices for and purchase Infringing Products for delivery in the U.S., including

Pennsylvania, as a means for establishing regular business with the U.S., including

Pennsylvania.

        b. Upon information and belief, certain Defendants are sophisticated sellers, each

operating one or more commercial businesses using their respective User Accounts

through which Defendants, their respective officers, employees, agents, servants and all

persons in active concert of participation with any of them, operate storefronts to

manufacture, import, export, advertise, market, promote, distribute, offer for sale and/or

otherwise deal in products, including the Infringing Products, which are held by or

associated with Defendants, their respective officers, employees, agents, servants and all

persons in active concert or participation with any of them (“Merchant Storefront(s)”) in

wholesale quantities at significantly below-market prices to consumers worldwide,

including to those in the U.S., and specifically Pennsylvania.

        c. Upon information and belief, Defendants’ Merchant Storefronts reflect multiple

sales to consumers all over the world, including repeat sales to consumers in the U.S. and

into this judicial district.

                                        -8-
Case 2:23-cv-02000-WSS           Document 2        Filed 11/20/23      Page 9 of 31




       d. Upon information and belief, all Defendants accept payment in U.S. Dollars

and offer shipping to the U.S., including to Pennsylvania and specifically to the

Pennsylvania Address (as defined infra).

       e. Upon information and belief, Defendants have transacted business with

consumers located in the U.S., including Pennsylvania, for the sale and shipment of

Infringing Products (as defined infra).

       f. Upon information and belief, Defendants are employing and benefiting from

substantially similar paid advertising and marketing and advertising strategies in order to

make their Merchant Storefronts selling illegal goods appear more relevant and attractive

to search result software across an array of search words, including but not limited to

“TOTE HANGER”. By their actions, Defendants are causing concurrent and indivisible

harm to Plaintiffs and the consuming public by (i) depriving Plaintiffs of their right to

fairly compete for space within the various on-line marketplace search results and

reducing the visibility of the Plaintiffs’ Product on various on-line marketplaces and/or

diluting and driving down the retail market price for Plaintiffs’ Product; (ii) causing an

overall degradation of the value of the goodwill associated with Plaintiffs’ marks and

goods; and (iii) increasing Plaintiffs’ overall cost to market its goods and educate

consumers about brands.

       g. Upon information and belief, Defendants have cooperated, communicated their

plans with one another, shared information, and coordinated their efforts, all in order to

create an illegal marketplace operating in parallel to the legitimate marketplace of

Plaintiffs’ and the legally authorized resellers of Plaintiffs’ genuine goods.



                                          -9-
      Case 2:23-cv-02000-WSS             Document 2        Filed 11/20/23      Page 10 of 31




               h. Upon information and belief, Defendants are concurrently targeting their

       infringing activities toward consumers and causing harm in Allegheny County,

       Pennsylvania.

               i. Upon information and belief, Defendants likely reside and/or operate in or,

       though not foreign, operate out of or from foreign jurisdictions with lax trademark and

       patent enforcement systems and are cooperating by creating an illegal stream of

       infringing and Infringing goods.

               j. Upon information and belief, Defendants are aware of Plaintiffs’ Product, and

       are aware that their illegal infringing actions alleged herein are likely to cause injury to

       Plaintiffs in the United States, in Pennsylvania and in this judicial district specifically, as

       Plaintiffs conduct substantial business in Pennsylvania.

               k. Plaintiffs are suffering irreparable and indivisible injury and suffered

       substantial damages as a result of Defendants’ unauthorized and wrongful sale of

       Infringing and infringing goods.

       13.Venue is proper, inter alia, pursuant to 28 U.S.C. § 1391 and 28 U.S.C. § 1400(b)

because, for example:

           a. Upon information and belief, Defendants conduct, transact, and/or solicit business

   in this judicial district.

           b. Upon information and belief, Defendants or their agent(s) may be found in this

   district because personal jurisdiction is proper in this district.




                                                - 10 -
      Case 2:23-cv-02000-WSS             Document 2        Filed 11/20/23      Page 11 of 31




            c. Upon information and belief, this is a judicial district in which a substantial part of

   the events or omissions giving rise to the infringement claims occurred, or a substantial part

   of the property that is the subject of the action is situated.

            d. Defendants not resident in the United States may be sued in this judicial district

   because personal jurisdiction is proper in this district.

                                        THE PLAINTIFFS

       14. Plaintiffs, Jacki Easlick, LLC (“JEL”), with a registered address of 625 Milton Road,

Rye, NY 10580, and JE Corporate LLC (“JEC”), with a registered address of 138A E Park

Avenue, Long Beach, NY 11561, are limited liability companies organized under the laws of

New York.

       15. Plaintiffs have spent substantial time, money, and effort in building up and

developing consumer recognition, awareness and goodwill in Plaintiffs’ Mark and Product. The

success of the Plaintiffs’ Product is due in part to Plaintiffs’ marketing and promotional efforts.

These efforts include advertising and promotion through television, retailer websites, including

Etsy and Wayfair, and other internet-based advertising, print, participation in trade shows,

among other efforts, including in Pennsylvania in The Container Stores and Lowes. Plaintiffs’

Product has been featured on Get Organized with Home Edit on Netflix, websites, social media,

and various point-of-sale materials.

       16. Like many other brand owners, Plaintiffs suffer ongoing daily and sustained

violations of their rights at the hands of infringers, such as Defendants herein, who wrongfully

reproduce Plaintiffs’ Product for the twin purposes of (i) duping and confusing the consuming

public and (ii) earning substantial profits from the sale of their Infringing Products. The natural

and intended byproduct of Defendants’ actions is the erosion and destruction of the goodwill

                                                - 11 -
       Case 2:23-cv-02000-WSS           Document 2        Filed 11/20/23      Page 12 of 31




associated with Plaintiffs’ Product and the destruction of the legitimate market sector in which

Plaintiffs operate.

        17. The recent explosion of counterfeiting and infringement over the Internet, including

through online marketplace platforms, has created an environment that requires brand owners,

such as Plaintiffs, to expend significant time and money across a wide spectrum of efforts in

order to protect both consumers and Plaintiffs from the ill effects of confusion and the erosion of

the goodwill associated with Plaintiffs’ brand and products.

                                          THE DEFENDANTS

        18. The Defendants are individuals and/or business entities of unknown makeup, each of

whom, upon information and belief, either reside or operate in foreign jurisdictions, or (though

not foreign) redistribute products from the same or similar sources in those locations. Defendants

have the capacity to be sued pursuant to Federal Rule of Civil Procedure 17(b). Defendants

target their business activities toward consumers throughout the United States, including within

this district, and conduct pervasive business through the operation of at least one of the Internet

based online marketplaces Alibaba.com, AliExpress.com Amazon.com, eBay.com, Joybuy,

Temu.com, Walmart.com and Wish.com under the Seller IDs.

        19. Defendants use aliases in conjunction with the operation of their businesses,

including but not limited to those as set forth in Schedule “A” hereto.

        20. Defendants are the past and present controlling forces behind the sale of products

bearing and/or using infringements of at least one of the Plaintiffs’ Patent and Works, and/or a

substantially similar copy of Plaintiffs’ Works as described herein using at least the Seller IDs.

        21. Upon information and belief, Defendants directly engage in unfair competition with

Plaintiffs and its authorized sellers by advertising, offering for sale and selling goods bearing


                                               - 12 -
      Case 2:23-cv-02000-WSS             Document 2        Filed 11/20/23      Page 13 of 31




and/or using infringements of Plaintiffs’ Works and Patent to consumers within the United States

and this district through several fully interactive, commercial Internet websites and Internet

based e-commerce stores operating under, at least, the storefronts, the Seller IDs, and any

additional domain names, websites and corresponding website URLs or seller identifications and

store URL aliases not yet known to Plaintiffs. Defendants have purposefully directed some

portion of their illegal activities towards consumers in the Commonwealth of Pennsylvania

through the advertisement, offer to sell, sale, and/or shipment of Infringing Products and

infringing goods into the Commonwealth.

       22. Defendants have registered, established, or purchased, and maintained the online

marketplace website storefronts and Seller IDs. Upon information and belief, Defendants have

engaged in fraudulent conduct with respect to the registration of the storefronts and Seller IDs by

providing false and/or misleading information to the Internet based e-commerce platforms where

they offer for sale and/or sell, during the registration or maintenance process related to their

respective Seller ID. Upon information and belief, Defendants have anonymously registered and

maintained some of the Seller IDs for the sole purpose of engaging in illegal infringing activities.

       23. Upon information and belief, Defendants will continue to register or acquire new

seller identification aliases for the purpose of selling and offering for sale goods bearing and/or

advertised using confusingly similar imitations of Plaintiffs’ Works and infringing Plaintiffs’

Patent unless preliminarily and permanently enjoined.

       24. Defendants’ Internet-based businesses amount to nothing more than illegal operations

established and operated in order to infringe the intellectual property rights of Plaintiffs.




                                                - 13 -
      Case 2:23-cv-02000-WSS               Document 2         Filed 11/20/23        Page 14 of 31




       25. Defendants’ business names, i.e., the Seller IDs, associated payment accounts, and

any other alias seller identification names used in connection with the sale of infringing goods

bearing and/or using Plaintiffs’ Works and Patent are essential components of Defendants’

online activities and are the means by which Defendants further their infringement scheme and

cause harm to Plaintiffs. Moreover, Defendants are using Plaintiffs’ Works to drive Internet

consumer traffic to their e-commerce stores operating under the Seller IDs, thereby creating, and

increasing the value of the Seller IDs and decreasing the size and value of Plaintiffs’ legitimate

consumer marketplace at Plaintiffs’ expense.

                                 COMMON FACTUAL ALLEGATIONS

       Plaintiffs’ Patented TOTE HANGER®

       26. Plaintiffs developed and sell their TOTE HANGER® brand handbag hanger hook

under the registered TOTE HANGER® trademark (“Plaintiffs’ Mark”). Plaintiffs’ Product is

proudly manufactured using the highest quality materials and processes. Below are images of

Plaintiffs’ Products and packaging (ASIN1 B07GJ1FVGC), which retail for $12.99:




1
     Refers to Amazon Standard Identification Number. Each product is assigned a unique ASIN when listed on
     Amazon.
                                                   - 14 -
      Case 2:23-cv-02000-WSS            Document 2        Filed 11/20/23      Page 15 of 31




       27. Plaintiffs own a United States patent for its unique product. Plaintiffs’ Product is the

subject of a U.S. Design Patent referred to herein as “Plaintiffs’ Patent.”

                                               - 15 -
       Case 2:23-cv-02000-WSS            Document 2        Filed 11/20/23       Page 16 of 31




       28. Because of Plaintiffs’ Patent on Plaintiffs’ Product, no competitor can lawfully make,

use, offer for sale, or sell a competing product that infringes Plaintiffs’ patent.

       29. Like many other rights owners, Plaintiffs suffer ongoing daily and sustained

violations of its copyright, trademark, trade dress, and patent rights at the hands of infringers,

such as Defendants herein. Plaintiffs are harmed, the consuming public is duped and confused,

and the Defendants earn substantial profits in connection with the infringing conduct.

       30. In order to combat the harm caused by the combined actions of Defendants and others

engaging in similar infringing conduct, Plaintiffs have expended significant resources in

connection with their intellectual property enforcement efforts. The recent explosion of

infringement over the Internet has created an environment that requires companies to expend

significant time and money across a wide spectrum of efforts in order to protect both consumers

and itself from infringement of its copyrights, trademark rights and patent rights.

       31. Upon information and belief, at all times relevant hereto, Defendants in this action

had full knowledge of Plaintiffs’ copyrights, trademark rights, trade dress, and/or patent rights,

including Plaintiffs’ exclusive right to use and license such intellectual property and the goodwill

associated therewith. Plaintiffs have complied with the Patent Act and marked their Products

providing actual notice of their design patent.

       32. Defendants’ actions have resulted in actual confusion in the marketplace between

Defendants’ goods and genuine Plaintiffs’ Product. As may be seen by reviewing the Dee Odell

Declaration, Exhibit 1, and the Plaintiffs’ Design Patent, each of the Defendants’ products

infringes on the Plaintiffs’ Patent. Additionally, Plaintiffs have filed the expert Declaration of

Jacklyn Easlick indicating that she has reviewed all the pre-filing evidence and concluded that


                                                  - 16 -
       Case 2:23-cv-02000-WSS            Document 2        Filed 11/20/23      Page 17 of 31




each of the products identified in Exhibit 1 infringes on the Plaintiffs’ Design Patent. The overall

combination and arrangement of all non-functional design elements of Plaintiffs’ Product and

Works, including its product insert, are inherently distinctive and/or have acquired secondary

meaning in the mind of the purchasing public.

       The Online Marketplace Platform and Defendants’ User Accounts

       33. Online marketplace platforms (also referred to as “Third Party Service Provider”),

including but not limited to Amazon.com, eBay.com, Joybuy, Temu, Wish.com, Walmart.com,

and Aliexpress.com, allow manufacturers, wholesalers and other third party merchants, like

Defendants, to advertise, distribute, offer for sale, sell and ship their wholesale and retail

products originating from China directly to consumers worldwide and specifically to consumers

residing in the United States, including Pennsylvania.

       34. Defendants are individuals and/or businesses, who, upon information and belief, are

located in China and other foreign countries but conduct business in the United States and other

countries by means of their User Accounts and on their Merchant Storefronts on Amazon.com,

aliexpress.com, eBay.com, Joybuy, Temu, Walmart.com, and/or wish.com, as well as potentially

yet undiscovered additional online marketplace platforms.

       35. Through their Merchant Storefronts, Defendants offer for sale and/or sell consumer

products, including Infringing Products, and target and ship such products to customers located

in the United States, including Pennsylvania, and throughout the world.

       Defendants’ Wrongful and Infringing Conduct

       36. Defendants are promoting and advertising, distributing, selling and/or offering for

sale copies of Plaintiffs’ Product in interstate commerce that infringes copyright rights, trade

                                                - 17 -
        Case 2:23-cv-02000-WSS                 Document 2          Filed 11/20/23         Page 18 of 31




dress rights, and patent rights (collectively referred to as, “Infringing Product(s)” or “Infringing

Product(s)”), through the fully interactive Internet based e-commerce stores operating under the

Seller IDs:

                   a. Defendants’ competing goods look nearly identical, which creates a

          likelihood of confusion as to source, as Defendants’ competing goods are confusing

          similar imitations of Plaintiffs’ Product.

                  b. Defendants make, use, offer for sale, or sell competing products that infringe

         Plaintiffs’ Patent.

                  c. Defendants are advertising, marketing, offering for sale their patent-infringing

         versions of Plaintiffs’ Product.

                  d. Defendants’ competing goods are of a quality substantially and materially

         different than that of Plaintiffs’ genuine goods.

                  e. Defendants sell or offer the infringing goods for a retail price below the usual

         retail price of Plaintiffs’ genuine patented product.

         37. E-commerce sales, including through e-commerce stores like those of Defendants,

have resulted in a sharp increase in the shipment of unauthorized products into the United States.

Ference Dec2., Exhibit 1, Excerpts from Fiscal Year 2021 U.S. Customs and Border Protection

(“CBP”) Intellectual Property Seizure Statistics Report. Over 89% of all CBP intellectual

property seizures were smaller international mail and express shipments (as opposed to large




2
    Referring to Declaration of Stanley D. Ference III in Support of Temporary Restraining Order, filed herewith.

                                                       - 18 -
      Case 2:23-cv-02000-WSS            Document 2        Filed 11/20/23      Page 19 of 31




shipping containers). Id. More than half (51%) of CBP seizures originated from mainland China

and Hong Kong. Id. Infringing and pirated products account for billions in economic losses,

resulting in tens of thousands of lost jobs for legitimate businesses and broader economic losses,

including lost tax revenue.

       38. Third party service providers like those used by Defendants do not adequately

subject new sellers to verification and confirmation of their identities, allowing infringers to

“routinely use false or inaccurate names and addresses when registering with these e-commerce

platforms.” Ference Dec., Exhibit 2, Daniel C.K. Chow, Alibaba, Amazon, and Infringing in the

Age of the Internet, 40 NW. J. INT’L L. & BUS. 157, 186 (2020); see also, report on

“Combating Trafficking in Infringing and Pirated Goods” prepared by the U.S. Department of

Homeland Security’s Office of Strategy, Policy, and Plans (Jan. 24, 2020), attached as Ference

Dec., Exhibit 3 and finding that on “at least some e-commerce platforms, little identifying

information is necessary for an Infringer to begin selling” and recommending that

“[s]ignificantly enhanced vetting of third-party sellers” is necessary. Infringers hedge against the

risk of being caught and having their websites taken down from an e-commerce platform by

preemptively establishing multiple virtual store-fronts. Ference Dec., Exhibit 3, at p. 22. Since

platforms generally do not require a seller on a third-party marketplace to identify the underlying

business entity, Infringers can have many different profiles that can appear unrelated even

though they are commonly owned and operated. Ference Dec., Exhibit 3 at p. 39. Further, “E-

commerce platforms create bureaucratic or technical hurdles in helping brand owners to locate or

identify sources of Infringing and Infringers.” Ference Dec., Exhibit 2 at 186-187.

       39. Defendants target their business activities towards consumers throughout the United

States, including within Pennsylvania, and this district in Allegheny County, and conduct

                                                - 19 -
      Case 2:23-cv-02000-WSS             Document 2        Filed 11/20/23      Page 20 of 31




pervasive business through the operation of, at least, one fully interactive commercial Internet

based e-commerce store via at least one Internet under various Seller IDs, including the Seller

IDs in Schedule “A.”

       40. Defendants have purposefully directed some portion of their illegal activities towards

consumers in the Commonwealth of Pennsylvania through the advertisement, offer to sell, sale,

and/or shipment of infringing goods into the State.

       41. Defendants are the past and present controlling forces behind the sale of products that

infringe Plaintiffs’ intellectual property as described herein using at least the Seller IDs in

Schedule “A” and the Seller IDs associated with the infringing product ASIN numbers.

Defendants have registered, established, or purchased, and maintained their Seller IDs.

       42. Upon information and belief, some Defendants have anonymously registered and

maintained some of the Seller IDs for the sole purpose of engaging in illegal infringing activities.

For example, on Amazon.com after notice that a particular Seller Name has sold an infringing

product with a particular ASIN number, a new Seller Name will be used (e.g. a new “Just

Launched Seller”) to sell the same infringing product under a new ASIN number associated with

the new Seller Name. The result can be a never ending “Whack–A-Mole” situation where new

infringers keep popping up.

       43. Upon information and belief, Defendants will continue to register or acquire new

Seller ID aliases for the purpose of selling and offering for sale goods that infringe Plaintiffs’

trademark rights, trade dress rights, and patent rights unless preliminarily and permanently

enjoined.




                                                - 20 -
       Case 2:23-cv-02000-WSS           Document 2        Filed 11/20/23      Page 21 of 31




        44. Defendants’ business names, i.e., Seller IDs, associated payment accounts, and any

other alias seller identification names used in connection with the sale of infringing goods are

essential components of Defendants’ online activities and are one of the means by which

Defendants further their infringing scheme and cause harm to Plaintiff. Moreover, Defendants

are using without permission Plaintiffs’ claimed copyrightable materials, trademarks, trade dress

and patents to drive Internet consumer traffic to their e-commerce stores operating under their

Seller IDs, thereby increasing the value of the Seller IDs, and decreasing the size and value of

Plaintiffs’ legitimate marketplace and intellectual property rights at Plaintiffs’ expense.

        45. Upon information and belief, Defendants are concurrently targeting their infringing

activities toward consumers and causing harm within this district and elsewhere throughout the

United States. As a result, Defendants are harming Plaintiffs and the consuming public for

Defendants’ own benefit.

        46. By their actions, Defendants have created an illegal marketplace operating in parallel

to the legitimate marketplace for Plaintiffs’ genuine goods. Defendants are causing concurrent

and indivisible harm to Plaintiffs and the consuming public by (i) depriving Plaintiffs and other

third parties of their right to fairly compete for space within search engine results and reducing

the visibility of Plaintiffs’ genuine goods on the World Wide Web and internet, (ii) causing an

overall degradation of the value of the goodwill associated with Plaintiffs’ trademark rights, and

(iii) increasing Plaintiffs’ overall cost to market its goods and educate consumers about its brand

via the Internet.

        47. Plaintiffs are suffering irreparable and indivisible injury and have suffered

substantial damages as a result of Defendants’ unauthorized and wrongful use of Plaintiffs’

intellectual property. The natural and intended byproduct of Defendants’ actions is the erosion

                                                - 21 -
      Case 2:23-cv-02000-WSS            Document 2       Filed 11/20/23      Page 22 of 31




and destruction of the goodwill associated with Plaintiffs’ name and associated trademarks and

the destruction of the legitimate market sector in which it operates.

       48. Defendants’ infringing products compete directly against Plaintiffs’ Product.

Defendants’ infringement was a cause in Plaintiffs’ unit sales decreasing during the last several

months over the same time period the previous year. Plaintiffs have thus lost profits.

       49. Plaintiffs have suffered and will suffer irreparable injury as a result of Defendants’

continued sale of infringing products, and monetary damages are inadequate to compensate

Plaintiffs for Defendants’ continued sale of infringing products.

               a. Defendants sell cheaper and inferior competing tote hanger products that

       infringe upon Plaintiffs’ Patent. Defendants’ sale of infringing products has caused

       Plaintiffs loss of market share, reputational harm, lost profits and/or jeopardy to

       Plaintiffs’ competitive position.

               b. Plaintiffs cannot effectively exercise their rights under copyright, trademark,

       trade dress, and patent which also damages Plaintiffs’ relationship with its actual and/or

       potential re-sellers.

               c. Defendants have infringed in the past and threaten to infringe in the future.

       50. Upon information and belief, Defendants’ payment and financial accounts are being

used by Defendants to accept, receive, and deposit profits from Defendants’ infringing and

unfairly competitive activities connected to their Seller IDs and any other alias domain names or

seller identification names being used and/or controlled by them.




                                               - 22 -
       Case 2:23-cv-02000-WSS             Document 2        Filed 11/20/23      Page 23 of 31




        51. Plaintiffs have no adequate remedy at law. Upon information and belief, Defendants

are likely to transfer or secret their assets to avoid payment of any monetary judgment awarded

to Plaintiffs.

        52. Defendants would suffer no cognizable harm from ceasing infringing conduct.

                 a. Defendants have no right to sell products that infringe Plaintiffs’ patent rights.

                 b. Defendants sell other products, so they would suffer little harm if they stopped

        selling the infringing products at issue in this lawsuit.

                 c. Plaintiffs will suffer great harm to their competitive position and business if

        Defendants sell products that infringe Plaintiffs’ rights.

        53. The public interest will be served when it protects Plaintiffs from infringement of its

patent rights.

        54. Defendants are engaging in the above-described illegal infringing activities

knowingly and intentionally or with reckless disregard or willful blindness to Plaintiffs’ rights. If

Defendants’ infringing activities are not preliminarily and permanently enjoined by this Court,

Plaintiffs and the consuming public will continue to be harmed.

        55. The harm and damages sustained by Plaintiffs have been directly and proximately

caused by Defendants’ wrongful reproduction, use, advertisement, promotion, offers to sell, and

sale of their Infringing Products.

        Scope of Defendants’ Unlawful Activities

        56. Upon information and belief, each Defendant did not obtain an opinion from United

States Counsel about the legality of offering for sale its Infringing Products.




                                                 - 23 -
       Case 2:23-cv-02000-WSS            Document 2        Filed 11/20/23    Page 24 of 31




       57. Upon information and belief, each Defendant operates more than one merchant

storefront.

       58. Upon information and belief, each Defendant operates merchant storefronts across

multiple e-commerce marketplaces.

       59. Upon information and belief, each Defendant has sold more than 150,000 units of the

Infringing Product with at least $10.00 profit per unit.

       60. Upon information and belief, each Defendant’s profits from the sale of the Infringing

Products totals more than $100,000.

       61. Upon information and belief, each Defendant’s profits from the sale of the Infringing

Products totals more than $300,000.

       62. Upon information and belief, each Defendant’s profits from the sale of the Infringing

Products totals more than $2,000,000.

                 COUNT I – PATENT INFRINGEMENT (35 U.S.C. § 271(a))

       63. Plaintiffs hereby adopt and re-allege the allegations set forth in the preceding

paragraphs as if set forth herein.

       64. Plaintiffs are the owners of US Design Patent No. D695,526 S (“Plaintiffs’ Patent”).

A copy of Plaintiffs’ Patent is attached to the Complaint as Exhibit 3B. The Plaintiffs’ Product is

marked in accordance with the Patent Act.

       65. Defendants have infringed and continue to infringe Plaintiffs’ Patent directly or

indirectly through acts of contributory infringement or inducement in violation of 35 U.S.C. §

271, by making, using, selling, importing and/or offering to sell infringing products, namely the

tote hangers that are nearly identical to Plaintiffs’ Product.



                                                - 24 -
         Case 2:23-cv-02000-WSS          Document 2       Filed 11/20/23      Page 25 of 31




         66. Defendants’ infringement, contributory infringement and/or inducement to infringe

has injured Plaintiffs, and they, therefore, are entitled to recover damages in accordance with the

Patent Act, including a disgorgement of profits.

         67. Defendants’ infringement, contributory infringement and/or inducement to infringe

has been willful and deliberate because Defendants have notice of or knew of the Plaintiffs’

Patent and have nonetheless injured and will continue to injure Plaintiffs, unless and until this

Court enters an injunction, which prohibits further infringement and specifically enjoins further

manufacture, use, sale, importation and/or offer for sale of products or services that come within

the scope of the Plaintiffs’ Patent.

         68. Based on Defendants’ wrongful conduct, Plaintiffs are entitled to injunctive relief as

well as monetary damages and other remedies as provided by the Patent Act, including damages

that Plaintiffs have sustained and will sustain as a result of Defendants’ illegal and infringing

actions as alleged herein, enhanced discretionary damages and reasonable attorneys’ fees and

costs.

                                       PRAYER FOR RELIEF

         WHEREFORE, Plaintiff demands judgment on all Counts of this Complaint and an

award of equitable relief and monetary relief against Defendants as follows:

         a. Entry of temporary, preliminary and permanent injunctions pursuant to 35 U.S.C. §

283, and Federal Rule of Civil Procedure 65 enjoining Defendants, their agents, representatives,

servants, employees, and all those acting in concert or participation therewith, from

manufacturing or causing to be manufactured, importing, advertising or promoting, distributing,

selling or offering to sell their Infringing Products.



                                                 - 25 -
      Case 2:23-cv-02000-WSS             Document 2        Filed 11/20/23      Page 26 of 31




       b. Entry of an Order that, upon Plaintiffs’ request, any Internet marketplace website

operators and/or administrators that are provided with notice of the injunction, including but not

limited to the online marketplaces Amazon.com, aliexpress.com, eBay.com, Joybuy, Temu,

Walmart.com, and wish.com, identify any e-mail address known to be associated with

Defendants’ respective Seller ID, and cease facilitating access to any or all e-commerce stores

through which Defendants engage in the promotion, offering for sale, and/or sale of Infringing

Products.

       c. Entry of an Order that, upon Plaintiffs’ request, any Internet marketplace website

operators and/or administrators who are provided with notice of the injunction, including but not

limited to the online marketplaces Amazon.com, aliexpress.com, eBay.com, Joybuy,

Temu,Walmart.com, and wish.com, permanently remove any and all listings offering for sale

Infringing Products via the e-commerce stores operating under the Seller IDs, including any and

all listings linked to the same seller or linked to any other alias seller identification name being

used and/or controlled by Defendants to promote, offer for sale and/or sell Infringing Products.

       d. Entry of an Order that, upon Plaintiffs’ request, any Internet marketplace website

operators and/or administrators who are provided with notice of the injunction, including but not

limited to the online marketplaces Amazon.com, aliexpress.com, eBay.com, Joybuy, Temu,

Walmart.com, and wish.com, immediately cease fulfillment of and sequester all goods of each

Defendant or other Seller under a Seller ID offering for sale the Infringing Product in its

inventory, possession, custody, or control, and surrender those goods to Plaintiff.

       e. Entry of an Order awarding Plaintiffs damages adequate to compensate for the

infringement of its patent, but in no event less than a reasonable royalty for the use made of the



                                                - 26 -
       Case 2:23-cv-02000-WSS            Document 2         Filed 11/20/23      Page 27 of 31




invention by the Defendants, together with interest and costs as fixed by the Court pursuant to 35

U.S.C. § 284 and that the award be trebled as provided for under 35 U.S.C. §284.

        f. In the alterative, Entry of an Order awarding Plaintiffs all profits realized by

Defendants from Defendants’ infringement of Plaintiffs’ Patent, pursuant to 35 U.S.C. § 289.

        g. Entry of an Order finding that this case is exceptional and an award to Plaintiffs of its

attorney fees and costs as provided by for under 35 U.S.C. § 285.

        h. Entry of an Order that, upon Plaintiffs’ request, any financial institutions, payment

processors, banks, escrow services, money transmitters, or marketplace platforms, and their

related companies and affiliates, identify and restrain all funds, up to and including the total

amount of judgment, in all financial accounts and/or sub-accounts used in connection with the

Seller IDs or other domain names, alias seller identification names, or e-commerce store names

or store URLs used by Defendants presently or in the future, as well as any other related

accounts of the same customer(s) and any other accounts which transfer funds into the same

financial institution account(s), to be surrendered to Plaintiffs in partial satisfaction of the

monetary judgment entered herein.

        i. Entry of an award of pre- and post-judgment interest on the judgment amount.

        j. . Entry of an order for any further relief as the Court may deem just and proper.




                                                 - 27 -
     Case 2:23-cv-02000-WSS            Document 2       Filed 11/20/23    Page 28 of 31




                               DEMAND FOR JURY TRIAL

      Plaintiffs respectfully demand a trial by jury on all claims.

                                             Respectfully submitted,


Dated: November 20, 2023                     /s/ Stanley D. Ference III
                                             Stanley D. Ference III
                                             Pa. ID No. 59899
                                             courts@ferencelaw.com

                                             Brian Samuel Malkin
                                             Pa. ID No. 70448
                                             bmalkin@ferencelaw.com

                                             FERENCE & ASSOCIATES LLC
                                             409 Broad Street
                                             Pittsburgh, Pennsylvania 15143
                                             (412) 741-8400 - Telephone
                                             (412) 741-9292 - Facsimile
                                             Attorneys for Plaintiffs




                                              - 28 -
     Case 2:23-cv-02000-WSS    Document 2     Filed 11/20/23   Page 29 of 31




                              SCHEDULE “A”
             DEFENDANTS BY STORE NAME AND STORE NUMBER


Defendant                Store/Seller Name                         Seller ID
 Number
     1      CJ Emerald                                    A3ND0MZAU13880
     2      abel tang                                     A3MTCP3IQLZNRV
     3      AccEncyc US                                   A1K8NIP221R7C9
     4      ATriss                                        A10OALJ1RBHQF0
     5      Autrow                                        A25AZTSBUU7TNH
     6      BESTOYARD                                     ABULJIGL0O21W
     7      Bokwin                                        A1JNDRE3T906B0
     8      Bonnie Child                                  A1OQ5NNQCW35O8
     9      CBtone                                        AYWNK3AGQEBS7
    10      Coco's house                                  A16K77N2PMV1YI
    11      Colored Flag                                  A3NWH1DUS5URSC
    12      DSVENROLY DIRECT                              A1MKZS00BWKPO
    13      Entertainment First                           A2OLICMJ2QKQ00
    14      Facing the Ocean                              A103CZTCYOW16D
    15      Feperig                                       A20VQ8XEWNU4LL
    16      Fitnice Official                              A2U392CCK26QTI
    17      Full of stars.min                             AUGSIV2BX89DB
    18      Gardeish                                      A1OQFKSB2W8HKQ
    19      Gutapo                                        A2M36ARRPOO61M
    20      hemphill hen                                  A352XCDI8JP28N
    21      Herlloy                                       A3VPP7J0858G9G
    22      HOME DEPUTY                                   AN9VX73I787LY
    23      IdusHome                                      AS8P89EQ3R0N3
    24      Jagogh Yson                                   A1OAE621SUHTP8
    25      JINGWEI-US                                    AOFXV6S5AFDMK
    26      Jonercey                                      AM28U4LJBMGBV
    27      JRUIA                                         A16CIVDC3LL5Y1
    28      Karin Yang                                    A309RHGROK6DKQ
    29      Keyboo Inc                                    A2XJAFKGCRBSOI
    30      lasenersm                                     A3BW00NRHIPXNZ
    31      Limicounts                                    A368RSCGNM9U8G
    32      LIPU Hooker                                   A22X4DJTQ1LUSP
    33      LiteViso                                      A25R1GJO6WZP2S
    34      Lmposing                                      AXGP09LN8AQBX
    35      Lukinm                                        AB4VO041YPXDP
    36      M.Meteorite                                   A2URDN5CO5XHU3
    37      Maybeller                                     A3SFYBY0BJ0FKL
    38      Muyush                                        A9QXELJ959BX8
    39      Myfolrena Official                            A3AEIIDC5M2QMJ

                                     - 29 -
     Case 2:23-cv-02000-WSS     Document 2     Filed 11/20/23   Page 30 of 31




Defendant                 Store/Seller Name                         Seller ID
 Number
    40      Mzekgxm                                        AVALXF5M6J0G4
    41      NEZA-US                                        AUCU6AGMO0LYX
    42      Nishuna                                        A3FLQ4V9O6ROV3
    43      Patrick Yao                                    A3L41A09LHW44R
    44      PBFZ                                           A270EHDBEPJFXT
    45      pengWH shop                                    A16M05AMS065YX
    46      Qikita                                         A16OOCACS0L1H5
    47      Robiteno                                       A2VSX5O6IUX7B1
    48      Shannon Wenha                                  AVMGE4APEA1IU
    49      Si Peihong                                     A3KJ02X2DGWZJK
    50      sinuoxiang                                     A12BYDUYOSU6VI
    51      Somirow                                        A2JX0XCNBXIC4
    52      Surmounty                                      A1A2IFMUH5Y33S
    53      ThinkCreators                                  A249NIEGQOAWEI
    54      Thomas Zack Yang                               A38SSFCRCBKLEZ
    55      tracy Zhong                                    A26RSV9N9NW3ZX
    56      Travelna                                       ASFCE8Q7QGH3O
    57      UFURMATE US                                    A23XDYARXDLA9
    58      Ume Sports                                     A3COCG58X0E4FG
    59      Vitong                                         A1V5IGNQ5W58RK
    60      Waitkey Direct                                 AC7TDTEH0EMEW
    61      WEKIWGOT-US                                    A36V2NQA6W6DYE
    62      yanhuslsne                                     A16DHMH6HPZMHO
    63      zara lei                                       A2D47Z3REZKALD
    64      ZEDODIER                                       A2VIECA561DKBZ
    65      ZGCZZ                                          AR1LDLTQUIZJM
    66      zhangheting                                    A82D1OYLA4V0R
    67      ZHONG ROY                                      A2M32LDHISYHL6




                                      - 30 -
     Case 2:23-cv-02000-WSS      Document 2     Filed 11/20/23   Page 31 of 31




                             LISTING OF EXHIBITS


Exhibit 1 …………………… Exemplar comparison of Plaintiffs’ Product and Infringing Goods
Exhibit 2 …………………… Screen shots of the Plaintiffs’ Amazon Store and Website
Exhibit 3A ………………… US Trademark Reg. No. 4408783
Exhibit 3B ………………… US Design Patent No. D 695,526 S




                                       - 31 -
